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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    TERRE HAUTE DIVISION

 ANTONIO CRAWFORD,                                      )
                                                        )
                                Plaintiff,              )
                                                        )
                           v.                           )        No. 2:20-cv-00538-JPH-DLP
                                                        )
 MACKELLAR,                                             )
                                                        )
                                Defendant.              )

                       Order Denying Plaintiff's Motion for Sanctions and
                               Motion for Summary Judgment

        In this prisoner civil rights action, Antonio Crawford asserts that Lieutenant Shannon

 Mackellar failed to protect her1 from being sexually assaulted while she was in custody at the

 United States Penitentiary in Terre Haute, Indiana ("USP Terre Haute"). The Court previously

 denied Lt. Mackellar's motion for summary judgment on the issue of exhaustion of administrative

 remedies, dkt. 64, and a Pavey hearing is scheduled for June 2, 2022. Dkt. 75. Before the Court

 are Ms. Crawford's motion for sanctions and motion for summary judgment. Both motions are

 denied.




 1
  Ms. Crawford has signed her pleadings "Ms. Antonio Crawford." E.g. dkt. 97 at 5; see Balsewicz v.
 Pawlyk, 963 F.3d 650, 652 n. 1 (7th Cir. 2020); see also Dyjak v. Wilkerson, Nos. 21-2012 and 21-2119,
 2022 WL 1285221, at *1 (7th Cir. Apr. 29, 2022) (explaining federal courts' "normal practice of using
 pronouns adopted by the person before [them]").
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                                     I. Motion for Sanctions

        In her motion for sanctions, Ms. Crawford alleges that Lt. Mackellar failed to timely

 disclose Katie Marshall as a witness. Ms. Marshall is unit manager at USP Terre Haute, and she

 attests she never denied Ms. Crawford grievance forms or imposed any hurdles to Ms. Crawford

 obtaining them. See Dkt. 86-1 ¶ 4. Ms. Crawford argues that Ms. Marshall's testimony should be

 excluded because she was not timely disclosed under Rule 26(a). See Fed. R. Civ. P. 37(c).

        Ms. Crawford's motion lacks merit. Witnesses regarding the issue of exhaustion were

 required to be identified by May 11, 2022, dkt. 82 ¶¶ 1, 2, and Lt. Mackellar's disclosure of Ms.

 Marshall was timely. Dkt. 88; see also Fed. R. Civ. P. 26(a)(1)(C) and (D) (noting parties must

 make disclosures by a certain deadline unless a different time is set by court order). Moreover,

 Ms. Crawford identified Ms. Marshall as a potential witness during discovery. See Dkt. 99-1.

 Accordingly, the motion for sanctions is denied.

                               II. Motion for Summary Judgment

        In her motion for summary judgment, Ms. Crawford argues that there is no factual dispute as

 to whether administrative remedies were unavailable to her. Ms. Crawford points to a discovery

 response in which Lt. Mackellar states he "lacks personal knowledge regarding whether [Ms.

 Crawford] was provided an Administrative Remedy form as to the specific allegations in [the]

 lawsuit." Dkt. 90-1 at 2. This, according to Ms. Crawford, shows that there is no evidence she

 received the appropriate forms, and so she is entitled to judgment as a matter of law. See Fed. R.

 Civ. P. 56(a).




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        But Lt. Mackellar not being involved in the administrative remedy process does not

 resolve the issue of exhaustion. As the Court has previously explained, there is other

 evidence that the administrative remedy process was available to Ms. Crawford:



        Here, there is a disputed question of fact as to whether the grievance process was
        available to Ms. Crawford. Lt. Mackellar has submitted evidence that it was.
        See Dkt. 46-1, Affidavit of Renee Turner at 2 (Terre Haute's administrative remedy
        process); see also id. (explaining that inmates have access to the process via the law
        library); id. at 5–9 (reviewing Ms. Crawford's grievance history and explaining that
        she has used the process before). Ms. Crawford has submitted evidence that the
        grievance process was not available to her. Dkt. 52 at 4–5 (explaining prison staff
        imposes high hurdles on inmates by asking questions related to the grievance),
        id. at 6 (contending prison staff will pre-mark grievance forms thereby limiting the
        scope of the grievance); id. at 8 (asserting prison staff are selective in providing
        grievance forms); id. at 3, 7 (explaining prison staff denied her grievance forms
        with respect to this particular issue). The question of whether the grievance process
        was available to Ms. Crawford precludes summary judgment.

 Dkt. 64.

        This question of fact will be resolved at the Pavey hearing. Accordingly, Ms. Crawford's

 motion for summary judgment is denied.

                                          III. Conclusion

        For those reasons, Ms. Crawford's motion for summary judgment and motion for

 sanctions, dkts. [90] and [97], are denied. The clerk is directed to change "Mackellar" to

 "Shannon Mackellar."

 SO ORDERED.

 Date: 5/26/2022




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